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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION



UNITED STATES OF AMERICA,

       Plaintiff,

vs.                                                                 Case No. 92-CR-81127

D-40, GREGORY BROWN,                                                  HON. AVERN COHN

     Defendant.
______________________________/


                    ORDER DENYING MOTION FOR RECONSIDERATION

       This is a criminal case. In 1997, defendant was convicted by a jury of (1)

conspiracy to posses with intent to distribute cocaine, in violation of 21 U.S.C. § 846

and § 841(a)(1), (2) intentional killing, aiding and abetting, in furtherance of a continuing

criminal enterprise (CCE), in violation of 21. U.S.C. § 848(e)(1)(A), and 18 U.S.C. § 2,

and (3) using or carrying a firearm in relation to a drug offense, in violation of 18 U.S.C.

§ 924(c). Defendant was sentenced to life imprisonment.

       Defendant filed a motion to reduce or modify sentence under 18 U.S.C. §

3582(c). The Court denied the motion on the grounds that there has been no change to

the sentencing guidelines, particularly the 2006 amendment to the application notes of

U.S.S.G. § 2A1.1,1 used to determine defendant’s sentencing range.

       Before the Court is defendant’s motion for reconsideration. Defendant’s motion

presents the same arguments previously considered and rejected by the Court and

       1
      This guideline provision calls for a sentence of life imprisonment in a case of
premeditated killing or where death results from the commission of certain felonies.
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otherwise fails to demonstrate that the Court’s order was entered in error. See E.D.

Mich. LR 7.1(g).

      SO ORDERED.


                                         s/Avern Cohn
                                        AVERN COHN
                                        UNITED STATES DISTRICT JUDGE


Dated: January 9, 2008


I hereby certify that a copy of the foregoing document was mailed to the attorneys of
record and Gregory Brown, #07163-041, FCI Memphis, P.O. Box 34550, Memphis, TN
38184on this date, January 9, 2008, by electronic and/or ordinary mail.


                                         s/Julie Owens
                                        Case Manager, (313) 234-5160




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